       Dated: 11/4/2020




                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

 IN RE:                                       )
                                              )      Case No.: 19-01971
 Capstone Pediatrics, PLLC,                   )
                                              )      Chapter 11
                        DEBTOR.               )      Judge Mashburn


                                 ORDER CONVERTING CASE

          This matter came before the Court on the U.S. Trustee’s Motion to Convert. No opposition

 was filed and no party appeared at the hearing to oppose the motion.

          IT IS THEREFORE ORDERED that Debtor’s Chapter 11 case is converted to Chapter 7.

             THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY
                     AS INDICATED AT THE TOP OF THE PAGE

 Submitted by:

 PAUL RANDOLPH,
 ACTING U.S. TRUSTEE, REGION 8

  BY: /s/ Megan Seliber
 MEGAN SELIBER
 Trial Attorney for the U.S. Trustee
 318 Customs House, 701 Broadway
 Nashville, TN 37203
 615-695-4060
 Megan.Seliber@usdoj.gov




                                                                        This Order has been electronically
                                                                        signed. The Judge's signature and
                                                                        Court's seal appear at the top of the
                                                                        first page.
                                                                        United States Bankruptcy Court.

Case 3:19-bk-01971        Doc 302    Filed 11/05/20 Entered 11/05/20 07:16:15                   Desc Main
                                    Document      Page 1 of 1
